Case 8:19-cv-01257-JFW-PJW Document 31-2 Filed 08/19/19 Page1of4 Page ID #:187

EXHIBIT B

 
Case 8:19-cv-01257-JFW-PJW Document 31-2 Filed 08/19/19 Page 2of4 Page ID #:188

 

 

 

 

 

 

 

 

 

 

 

Alforney or Party without Attorney: For Court Use Only
STEVEN L. WOODROW ESQ. .
WOODROW & PELUSO, LLC
3900 EAST MEXICO AVENUE, STE. 300
DENVER, CO 80210

Telephone No: 720-213-0675 FAX: No: 303-927-0809

Ref. No or File No.:

Attorney for: Plaintiff

Insert name of Court, and Judicial Distriet and Branch Court:

United States District Court For The Central District Of California

Plaintiff; BRYCE ABBINK; ET AL .

Defendant: EXPERIAN INFORMATION SOLUTIONS, INC.; ET AL

DECLARATION OF Hearing Date: Time: Dept/Div: Case Nuaber:

REASONABLE DILIGENCE 8:19-CV-01257-JEW-PIW

 

 

1, 1, MIGUEL RUIZ, and any employee or independent contractors retained by A & A LEGAL SERVICE, Inc. are and were on the
dates mentioned herein over the age of eighteen years and not a party to this action. Personal service was attempted on Defendant
LEND TECH LOANS, INC. C/O SERGIO LOZA, REGISTERED AGENT as follows:

2. Documents:

Summons In A Civil Action; Class Action Complaint; Notice To Parties Of Court-Directed Adr Program;
Standing Order; Certification And Notice Of Interested Parties; Notice Of Assignment To United States

Judges; Civil Cover Sheet; Plaintiff's First Set Of Interrogatories To Defendant Lend Tech Loans, Inc.;
Plaintiffs First Set Of Requests For The Production Of Documents To Defendant Lend Tech Loans, Inc..

 

| Day Date Time | Location
Mon 07/01/19 2:10pm — Business

3. Person Executing
a. MIGUEL RUIZ

b. A & A LEGAL SERVICE, Inc.
880 MITTEN ROAD, SUITE 102

BURLINGAME, CA 94010

c. (650) 697-943 1, FAX (650) 697-4640

{1 Results
ADDRESS IS VACANT. NO LISTING FOR BUSINESS OR AGENT ON

DIRECTORY Attempt made by: MIGUEL RUIZ, Attempt at: 1851 E, FIRST
STREET, #810 SANTA ANA, CA 92705.

Recoverable Costs Per CCP 1033.5(a)(4)(B)

d. The Fee for service was:
(3) registered California process server
() Yndependent Contractor

(ii) Registration No.: 2687

e, lam:

(iii) County:

Orange

4, I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct,

Lope FN

(MIGUEL RUIZ)

Date: Thu, Jul. 11,2019

DECLARATION OF REASONABLE DILIGENCE

2130675, 118744

 
Case 8:19-cv-01257-JFW-PJW Document 31-2 Filed 08/19/19 Page 3of4 Page ID #:189

e

 

Altorney or Party without Attorney:
STEVEN L. WOODROW ESQ.
WOODROW & PELUSO, LLC

DENVER, CO 80210

Atorney for: Plaintiff

3900 EAST MEXICO AVENUE, STE. 300

_ | Telephone No: 720-213-0675 FAX: No: 303-927-0809

For Court Use Only

 

Ref. No or File No.:

 

 

insert name of Court, and Judicial District and Branch Court:
United States District Court For The Central District Of California

 

Plaintiff? BRYCE ABBINK; ET AL

 

Defendant: EXPERIAN INFORMATION SOLUTIONS, INC.; ET AL
DECLARATION OF Hearing Date: _ | Tine: Dept/Div: Case Number:
REASONABLE DILIGENCE *8:19-CV-01257-JFW-PIW

 

 

 

 

 

 

 

I, OSCAR FRANCO, and any employee or independent contractors retained by A & A LEGAL SERVICE, Inc, are and were on
the dates mentioned herein over the age of eighteen years and not a party to this action. Personal service was attempted on

Defendant LEND TECH LOANS, INC.

, C/O SERGIO LOZA, REGISTERED AGENT as follows:

Documents: Summons In A ‘Civil Action; Class Action Complaint; Notice To Parties Of Court-Directed Adr Program;
Standing Order; Certification And Notice Of Interested Parties; Notice Of Assignment To United States

Judges; Civil Cover Sheet; Plaintiff's First Set Of Interrogatories To Defendant Lend Tech Loans, Inc.;
Plaintiff's First Set Of Requests For The Production Of Documents To Defendant Lend Tech Loans, Inc..

| Day’ Date Time | Location | Results

Mon 07/08/19 11:04am ~ Business

3. Person Executing
a, OSCAR FRANCO .
b. A & A LEGAL SERVICE, Ine.
880 MITTEN ROAD, SUITE 102
BURLINGAME, CA 94010

c. (650) 697-9431, FAX (650) 697-4640

NO SUITE 100. SUITE 200 IS MONSTERLOANS. PER BRAD BRIGANTE,
GENERAL COUNSEL, THEY DO NOT KNOW SUBJECTS AND ARE NOT
AFFILIATED WITH SUBJECT BUSINESS. Attempt made by: OSCAR
FRANCO, Registration #1573 Riverside County. Attempt at: 25391 COMMERCE
CENTER, #100 OR 200 LAKE FOREST, CA 92630.

Recoverable Costs Per CCP 1033.5(a)(4)(B)
a. The Fee for service was:
e.lam: (3) registered California process server
(} Independent Contractor
(ii). Registration No.: 1373
(iti) County: Riverside

4, I declare under penalty of perjury under the laws of the State of California that er going is trite and correct. _..
LZ :

Date: Thu, Jul. 11, 2019

(OSCAR FRAHCO)
2130675.118905

DECLARATION OF REASONABLE DILIGENCE

 
 

Case 8:19-cv-01257-JFW-PJW Document 31-2 Filed 08/19/19

Page 4 of 4. Page ID #:190

 

Attorney or Party without Altorney:
STEVEN L, WOODROW ESQ,

WOODROW & PELUSO, LLC
3900 EAST MEXICO AVENUE, STE. 300
DENVER, CO 80210

For Court Use Only

 

Telephone No: 720-213-0675 FAX: No! 303-927-0809
Ref. No ar File No.:

 

Attorney for: Plaintiff

 

Insert name of Court, and Judicial District and Branch Court:
United States District Court-Central Dist. Of California-Los Angeles

 

Plaintiff BRYCE ABBINK; ET: AL
Defendant: EXPERIAN INFORMATION SOLUTIONS, INC, ET AL

 

DECLARATION OF Hearing Date: Time: Dept/Div:

 

 

 

REASONABLE DILIGENCE

Case Number:

8:19-CV-01257-JFW-PJW

 

 

 

1, 1, ERIK LUNA, and any employee or independent contractors retained by A & A LEGAL SERVICE, Inc. are and were on the
dates mentioned herein over the age of eighteen years and not a party to this action, Personal service was attempted on Defendant

LEND TECH LOANS, INC. BY SERVING: SEAN COWELL, PRESIDENT as follows:

4, Documents: Summons In A Civil Action Class Action Complaint; Notice To Parties Of Court-Directed Adr Program;
Standing Order; Certification And Notice Of Interested Parties; Notice Of Assignment To United States

Judges; Civil Cover Sheet; Plaintiffs First Set Of Interrogatories To

Defendant Unified Document Services,

Lic; Plaintiff's First Set Of Requests For The Production Of Documents To Defendant Unified Document

Services, Lic,

 

| Day Date Time | Location | Results

Fri 07/12/19 6:21pm = Home SECURITY GATE LOCKED, UNABLE TO GAIN ACCESS PAST GATE,
MULTIPLE CAMERAS BY GATE, NOT SURE IF RING DOORBELL IS
WORKING, Attempt made by: ERIK LUNA, Registration #2612 Orange County.
Attempt at: 24632 LA PLATA DRIVE Laguna Niguel, CA 92677,

Sun 07/14/19 10:00am Home SECURITY GATE LOCKED, UNABLE TO GAIN ACCESS PAST GATE,
TESLA PARKED IN DRIVEWAY. Attempt made by: ERIK LUNA. Attempt at:
24632 LA PLATA DRIVE Laguna Niguel, CA 92677.

Tue 07/16/19 6:12pm Home SECURITY GATE LOCKED, UNABLE TO GAIN ACCESS PAST GATE. SAME

TESLA PARKED IN DRIVEWAY AND

BLACK TOYOTA PARKED IN

DRIVEWAY, Attempt made by; ERIK LUNA, Attempt at: 24632 LA PLATA

DRIVE Laguna Niguel, CA 92677,

Thu 08/01/19 CANCEL AND RETURN;

3. Person Executing

Recoverable Costs Per CCP 1033.5(a)(4)(B)

a, ERIK LUNA d, The Fee jor service was:

b. A & A LEGAL SERVICE, Ine. e./am: (3) registered California process server
880 MITTEN ROAD, SUITE 102 (i) Independent Contractor
BURLINGAME, CA 94010 (ii) Registration No.: 2612

c, (650) 697-9431, FAX (650) 697-4640 (iit) County: Orange

4, F declare under penalty of perjury under the laws of the State of California that the foregoing is true ai sf

Date: Fri, Aug, 02, 2019

Co oy Qe mene

(ERIK UNA)
wee (O 2130675.1 18914
DECLARATION OF REASONABLE DILIGENCE oe .

 
